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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL




  Case No.         CR 13-00106-ODW                                                           Date     October 21, 2013


  Present: The Honorable         OTIS D. WRIGHT II, UNITED STATES DISTRICT JUDGE

  Interpreter

                Sheila English                      Katie Thibodeaux                  Christopher M Brunwin/ Steven R Welk
                Deputy Clerk                     Court Reporter/Recorder                      Assistant U.S. Attorney



                U.S.A. v. Defendant(s):           Present Cust. Bond           Attorneys for Defendants:        Present App. Ret.


David Santillan, Pres. of Mongol Nation, LLC         X                     Bob Bernstein                            X              X



 Proceedings:       MOTION to Dismiss Case [14]

        Case called, appearances are made. The Court hears oral argument from counsel.

       The Court orders the clerk’s office to correct the defendant’s name by deleting: David
Santillan, President of Mongol Nation, LLC and adding the correct name: Mongol Nation, an
Unincorporated Association.

        The MOTION to Dismiss Case[14], is DENIED.


IT IS SO ORDERED.




                                                                                                                :       14
                                                                       Initials of Deputy                  se
                                                                                    Clerk




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